Case 2:18-bk-17029-BB        Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28       Desc
                              Main Document    Page 1 of 36



 1    Kathleen Hateley, SBN 131484
      DDC Group, Inc.
 2    445 S. Figueroa Street. Suite 2160
      Los Angeles, CA 90071
 3    Kathleenta' ddcgroupinc.com
      (949) 677-6626
      Attorneys for Debtor
 5    DDC Group, Inc.
 6
 7
 8                        UNITED STATES BANKRUPTCY COURT

 9                              CENTRAL DISTRICT OF CALIFORNIA
10                                     LOS ANGELES DIVISION
11 In re                                               Case No. 2:18-bk-17029-BB
                                                  �
12                                                     Chapter 7
                DDC GROUP, INC.,                  �
 13                                                    CHAPTER7SCHEDULESOFDDC
                                                       GROUP, INC. WITH PROOF OF
14                                         Debtor.)    SERVICE AND DECLARATION OF
                                                  )    VYACHESLAV BORISOV
 15                                               )
 16
                    )
17                  )
                    )
18                  )
                    )
19                  )
                    )
20 11--------------
 21
      Pursuant to the Court Order of June 17, 2021 converting the DDC Group, Inc. bankruptcy
 22
      from a Chapter 11 to a Chapter 7 proceeding, attached hereto are the Chapter 7 schedules.
 23
 24                                                      Kathleen Hateley, DDC Group, Inc
      Dated: June 29. 2021
 25
 26                                                   By: ----=---=---=----=-----
 27                                                                 KathIeen Hateley
                                                                   Attorneyfor Debtor
 28                                                                 DDC Group, Inc


                                                  1
Case 2:18-bk-17029-BB   Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28   Desc
                         Main Document    Page 2 of 36
Case 2:18-bk-17029-BB   Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28   Desc
                         Main Document    Page 3 of 36
Case 2:18-bk-17029-BB   Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28   Desc
                         Main Document    Page 4 of 36
Case 2:18-bk-17029-BB   Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28   Desc
                         Main Document    Page 5 of 36
Case 2:18-bk-17029-BB   Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28   Desc
                         Main Document    Page 6 of 36
Case 2:18-bk-17029-BB   Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28   Desc
                         Main Document    Page 7 of 36
Case 2:18-bk-17029-BB   Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28   Desc
                         Main Document    Page 8 of 36
Case 2:18-bk-17029-BB   Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28   Desc
                         Main Document    Page 9 of 36
Case 2:18-bk-17029-BB   Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28   Desc
                         Main Document    Page 10 of 36
Case 2:18-bk-17029-BB   Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28   Desc
                         Main Document    Page 11 of 36
            Case 2:18-bk-17029-BB                               Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28                                             Desc
                                                                 Main Document    Page 12 of 36
  Fill in this information to identify the case:

              DDC Group, Inc
  Debtor name __________________________________________________________________
  United States Bankruptcy Court for the: Central
                                          ______________________ District of CA
                                                                             _________
                                                                                         (State)

  Case number (If known):      2:18-bk-17029-BB
                               _________________________                                                                                                Check if this is an
                                                                                                                                                            amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                             12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
       No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.

 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                 Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                  Amount of claim           Value of collateral
                                                                                                                                 Do not deduct the value   that supports this
                                                                                                                                 of collateral.            claim
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien
      Porsche USA
     __________________________________________                  2019 Porsche Cayenne                                          4,192.00
                                                                 ___________________________________________________ $__________________                           65,150.00
                                                                                                                                                            $_________________

    Creditor’s mailing address
                                                                 VIN: WP1AA2AY2KDA02408
                                                                 ___________________________________________________
     One Porsche Drive
                                                                 ___________________________________________________
     Atlanta GA 30354
     ________________________________________________________

     ________________________________________________________    Describe the lien
                                                                  Car lease. Ends 10/2021 -lease is current
                                                                  __________________________________________________
    Creditor’s email address, if known                           Is the creditor an insider or related party?
     _________________________________________
                                                                 
                                                                 ✔   No
                                                                    Yes

    Date debt was incurred          2019
                                    __________________           Is anyone else liable on this claim?
    Last 4 digits of account
                                                                    No
    number                   ___ ___ ___ ___
                                                                 
                                                                 ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the                As of the petition filing date, the claim is:
    same property?                                               Check all that apply.
    
    ✔ No
                                                                    Contingent
     Yes. Specify each creditor, including this creditor,          Unliquidated
             and its relative priority.                             Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Cort Furniture                                              Office Furniture 32 total pieces                                                                   8,316.90
     __________________________________________                                                                              14,558.88
                                                                 ___________________________________________________ $__________________                    $_________________

    Creditor’s mailing address                                   ___________________________________________________
     ________________________________________________________    ___________________________________________________
     ________________________________________________________    Describe the lien
                                                                  lease of office furniture
                                                                  __________________________________________________
    Creditor’s email address, if known                           Is the creditor an insider or related party?
     _________________________________________
                                                                 
                                                                 ✔   No
                                                                    Yes

    Date debt was incurred          1/2020
                                    __________________           Is anyone else liable on this claim?
    Last 4 digits of account
                                                                    No
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    number                   7174
                             ___ ___ ___ ___
    Do multiple creditors have an interest in the                As of the petition filing date, the claim is:
    same property?                                               Check all that apply.

    
    ✔ No                                                            Contingent
     Yes. Have you already specified the relative                  Unliquidated
           priority?                                                Disputed
       No. Specify each creditor, including this
                creditor, and its relative priority.
                _________________________________
                _________________________________
       Yes. The relative priority of creditors is
                specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                       18,750.88
                                                                                                                                  $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of ___
               Case 2:18-bk-17029-BB                            Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28 Desc
  Debtor            DDC Group, Inc                               Main Document
                    _______________________________________________________       Page 13Case
                                                                                          of 36                 2:18-bk-17029-BB
                                                                                              number (if known)_____________________________________
                    Name



                                                                                                                                  Column A                Column B
 Part 1:        Additional Page                                                                                                   Amount of claim         Value of collateral
                                                                                                                                  Do not deduct the value that supports this
                                                                                                                                  of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._ Creditor’s name                                              Describe debtor’s property that is subject to a lien

     AT&T
     __________________________________________                    5 IPhones
                                                                  ___________________________________________________
                                                                                                                                           1,138.07
                                                                                                                                  $__________________     $_________________
                                                                  ___________________________________________________
     Creditor’s mailing address
     AT&T Wireless                                                ___________________________________________________
     150 Fayetteville St Box 1011
     ________________________________________________________

     ________________________________________________________    Describe the lien
     Raleigh, North Carolina 27601                                  Iphones on monthly payment plan
                                                                   __________________________________________________

    Creditor’s email address, if known                            Is the creditor an insider or related party?
     _________________________________________
                                                                  
                                                                  ✔   No
                                                                     Yes


    Date debt was incurred           1/2019
                                     __________________           Is anyone else liable on this claim?
    Last 4 digits of account
                                                                  
                                                                  ✔   No
                                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    number                   9793
                             ___ ___ ___ ___

    Do multiple creditors have an interest in the                 As of the petition filing date, the claim is:
    same property?                                                Check all that apply.

    
    ✔ No                                                             Contingent
     Yes. Have you already specified the relative                   Unliquidated
               priority?                                             Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


2._ Creditor’s name                                              Describe debtor’s property that is subject to a lien


     __________________________________________
                                                                  ___________________________________________________
                                                                                                                                  $__________________     $_________________
     Creditor’s mailing address                                   ___________________________________________________

                                                                  ___________________________________________________
     ________________________________________________________

     ________________________________________________________    Describe the lien
                                                                   __________________________________________________

    Creditor’s email address, if known                            Is the creditor an insider or related party?
     _________________________________________
                                                                     No
                                                                     Yes

    Date debt was incurred           __________________           Is anyone else liable on this claim?

    Last 4 digits of account
                                                                     No
    number                   ___ ___ ___ ___
                                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the                 As of the petition filing date, the claim is:
    same property?                                                Check all that apply.

     No                                                             Contingent
     Yes. Have you already specified the relative                   Unliquidated
               priority?                                             Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page ___ of ___
           Case 2:18-bk-17029-BB                              Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28                                                     Desc
                                                               Main Document    Page 14 of 36
Debtor            DDC Group, Inc
                 _______________________________________________________                                                                        2:18-bk-17029-BB
                                                                                                                         Case number (if known)_____________________________________
                 Name



Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                                      On which line in Part 1     Last 4 digits of
         Name and address
                                                                                                                                      did you enter the           account number
                                                                                                                                      related creditor?           for this entity
    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________


Form 206D                                Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                               page ___ of ___
             Case 2:18-bk-17029-BB                              Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28                                       Desc
   Fill in this information to identify the case:                Main Document    Page 15 of 36

   Debtor            DDC Group, Inc.
                    __________________________________________________________________

                                           Central
   United States Bankruptcy Court for the: ______________________             CA
                                                                  District of __________
                                                                                              (State)
   Case number        2:18-bk-17029-BB
                     ___________________________________________
    (If known)

                                                                                                                                                   Check if this is an
                                                                                                                                                      amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
    
    ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                         Total claim              Priority amount
2.1 Priority creditor’s name and mailing address
    Daniil Borisov                                                                                                                104,577.00
                                                                          As of the petition filing date, the claim is: $______________________        104,577.00
                                                                                                                                                  $_________________
    __________________________________________________________________ Check all that apply.
    900 W. Olympic Blvd Apt 35A
    ___________________________________________                         Contingent
    Los Angeles, CA 90015                                               Unliquidated
    ___________________________________________                         Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          wages
                                                                          __________________________________
    2020-2021
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                           ✔ No
                                                                          
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address
    Vyacheslav Borisov                                                  As of the petition filing date, the claim is:             174,465.00
                                                                                                                        $______________________        174,465.00
                                                                                                                                                  $_________________
     __________________________________________________________________ Check all that apply.
    2219     Main Street # 363
    ___________________________________________                          Contingent
    Santa Monica, CA 90405                                               Unliquidated
    ___________________________________________                          Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          wages
                                                                          __________________________________
    2020-2021
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                           
                                                                          ✔ No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
                               qqqqq
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 1 of ___
              Case 2:18-bk-17029-BB
                 DDC Group, Inc.
                                                                 Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28 Desc
  Debtor            _______________________________________________________                                      2:18-bk-17029-BB
                    Name                                          Main Document    Page 16Case number (if known)_____________________________________
                                                                                           of 36
 Part 1.       Additional Page


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Total claim              Priority amount



2._    Priority creditor’s name and mailing address
                                                                                                                            $______________________   $_________________
                                                                            As of the petition filing date, the claim is:
                                                                            Check all that apply.
        _________________________________________________________________
                                                                               Contingent
                                                                               Unliquidated
       ___________________________________________                             Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________

       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)


2._    Priority creditor’s name and mailing address
                                                                                                                            $______________________   $_________________
                                                                            As of the petition filing date, the claim is:
                                                                            Check all that apply.
                                                                               Contingent
                                                                            
        _________________________________________________________________
                                                                                Unliquidated
       ___________________________________________                             Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________

       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)

2._    Priority creditor’s name and mailing address
                                                                                                                            $______________________   $_________________
                                                                            As of the petition filing date, the claim is:
                                                                            Check all that apply.
        _________________________________________________________________      Contingent
       ___________________________________________
                                                                               Unliquidated
                                                                               Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________
       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)

2._    Priority creditor’s name and mailing address
                                                                            As of the petition filing date, the claim is: $______________________     $_________________
                                                                            Check all that apply.
        _________________________________________________________________      Contingent
       ___________________________________________                             Unliquidated
                                                                               Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________

       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)




      Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 page __ of ___
           Case 2:18-bk-17029-BB                    Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28 Desc
  Debtor        DDC Group, Inc.
               _______________________________________________________                              2:18-bk-17029-BB
               Name                                  Main Document    Page 17Case number (if known)_____________________________________
                                                                              of 36
 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                                                10,119.91
                                                                                                                           $________________________________
    ADP
    ____________________________________________________________
                                                                              Contingent
    1____________________________________________________________
       ADP Blvd                                                               Unliquidated
                                                                              Disputed
    Roseland, NJ 07068
    ____________________________________________________________
                                                                                                payroll service
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred                   2021
                                               ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                                              139,538.97
                                                                                                                           $________________________________
    KBS   II 445 S. Figueroa, LLC
    ____________________________________________________________
                                                                              Contingent
    800 Newport Center Drive Suite 700                                        Unliquidated
    ____________________________________________________________              Disputed
    Newport Beach, CA 92660
    ____________________________________________________________
                                                                                                office lease
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred              1/2020-2021
                                               ___________________         Is the claim subject to offset?
                                                                           ✔
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                                                 1,487.84
                                                                                                                           $________________________________
    A T & T Wireless
    ____________________________________________________________
                                                                              Contingent
    c/o CT Corp 150 Fayettevill Street, Box 1011                              Unliquidated
    ____________________________________________________________              Disputed
    Raleigh, North Carolina 27601
    ____________________________________________________________
                                                                                                 cell phone service
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred                  1/2019
                                               ___________________         Is the claim subject to offset?
                                                                           ✔
                                                                              No
    Last 4 digits of account number          9793
                                              ___ ___ ___ ___                 Yes

3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                                                44,880.18
                                                                                                                           $________________________________
    Cogent Communications
    ____________________________________________________________
                                                                           Check all that apply.
                                                                              Contingent
    2450 N. Street NW                                                         Unliquidated
    ____________________________________________________________ 
    Washington, DC 20037                                                       Disputed
    ____________________________________________________________
                                                                                                internet
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred                   2020
                                               ___________________         Is the claim subject to offset?
                                                                           ✔
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                                                12,015.50
                                                                                                                           $________________________________
    Blue Mountain Spring Water
    ____________________________________________________________
                                                                           Check all that apply.
                                                                              Contingent
    1011 Waterman Drive                                                       Unliquidated
    ____________________________________________________________
    Waterman, NY 13601                                                        Disputed
    ____________________________________________________________
                                                                                                water delivery
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred                  2020
                                               ___________________         Is the claim subject to offset?
                                                                           ✔
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                                                   355.50
                                                                                                                           $________________________________
    Pinnacle  Communication Services
    ____________________________________________________________
                                                                 Check all that apply.
                                                                  Contingent
    730 Fairmont Ave                                              Unliquidated
    ____________________________________________________________
    Glendale, CA 91203                                            Disputed
    ____________________________________________________________
                                                                                                subcontractor
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred                   2020
                                               ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            ___ ___ ___ ___                Yes



    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page __ of ___
           Case 2:18-bk-17029-BB                 Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28 Desc
  Debtor        DDC Group, Inc.
               _______________________________________________________                           2:18-bk-17029-BB
               Name                               Main Document    Page 18Case number (if known)_____________________________________
                                                                           of 36
Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                      Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                   Check all that apply.                                                 7,500.00
                                                                                                                   $________________________________
     Tokio Marine HCC-Surety Group
     ___________________________________________________________      Contingent
                                                                      Unliquidated
     1221 Ave of the Americas Suite 1500                              Disputed
     ___________________________________________________________      Liquidated and neither contingent nor
     New York, NY 10020                                                disputed
     ___________________________________________________________
                                                                                        bond
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred                2021
                                             ___________________   Is the claim subject to offset?
                                                                   ✔
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes



3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                                                                                         3,409.68
                                                                                                                   $________________________________
     State  Compensation Ins. Fund
     ___________________________________________________________
                                                                      Contingent
     PO Box 22022                                                     Unliquidated
     ___________________________________________________________      Disputed
     Santa Ana, CA 92702
     ___________________________________________________________
                                                                                        Worker Comp Ins
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred                2021
                                             ___________________   Is the claim subject to offset?
                                                                   
                                                                   ✔   No
     Last 4 digits of account number         ___ ___ ___ ___          Yes


3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.                                                 4,196.00
                                                                                                                   $________________________________
     Porsche USA
     ___________________________________________________________      Contingent
     One Porsche Drive                                                Unliquidated
     ___________________________________________________________      Disputed
     Atlanta GA 30354
     ___________________________________________________________
                                                                                        remainder of lease
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred                2021
                                             ___________________   Is the claim subject to offset?
                                                                   ✔
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes


3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:
                                                                                                                                         8,316.90
                                                                                                                   $________________________________
     Cort Furniture
     ___________________________________________________________
                                                                   Check all that apply.
                                                                      Contingent
     8484 Wilshire Blvd Suite 150                                     Unliquidated
     ___________________________________________________________      Disputed
     Beverly Hills, CA 90211
     ___________________________________________________________
                                                                                        office furniture rental
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred                2020
                                             ___________________   Is the claim subject to offset?
                                                                   ✔
                                                                      No
     Last 4 digits of account number        7174
                                             ___ ___ ___ ___          Yes



3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:
                                                                                                                                      160,000.00
                                                                                                                   $________________________________
     Resnik  Hayes, Moraldi, LLP
     ___________________________________________________________
                                                                   Check all that apply.
                                                                      Contingent
    17609 Ventura Blvd Suite 314                                      Unliquidated
     ___________________________________________________________      Disputed
    Encino, CA 91316
     ___________________________________________________________
                                                                                         attorney fees
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred            2018-2019
                                             ___________________   Is the claim subject to offset?
                                                                   
                                                                   ✔   No
     Last 4 digits of account number         ___ ___ ___ ___          Yes




    Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                          page __ of ___
                Case 2:18-bk-17029-BB                              Doc 468 Filed 06/30/21 Entered 06/30/21              16:41:28 Desc
                                                                                                                   2:18-bk-17029-BB
     Debtor           DDC Group, Inc.
                     _______________________________________________________
                     Name                                           Main Document    Page 19Case number (if known)_____________________________________
                                                                                             of 36
Part 3:              List Others to Be Notified About Unsecured Claims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                                         On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                                                               related creditor (if any) listed?          account number, if
                                                                                                                                                          any

4.1.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.2.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.3.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.4.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.5.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.6.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.7.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.8.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.9.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.10.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.11.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.12.
                                                                                                               Line _____

                                                                                                               
         ___________________________________________________________________________________________________
                                                                                                                   Not listed. Explain ________________   ___ ___ ___ ___
         _________________________________________________________________
                                                                                                                   _________________________________
         _________________________________________________________________




       Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 page __ of ___
               Case 2:18-bk-17029-BB
                 DDC Group, Inc.
                                                                  Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28 Desc
  Debtor             _______________________________________________________                                      2:18-bk-17029-BB
                     Name                                          Main Document    Page 20Case number (if known)_____________________________________
                                                                                            of 36
 Part 3:        Additional Page for Others to Be Notified About Unsecured Claims


          Name and mailing address                                                                           On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                                                             related creditor (if any) listed?          account number,
                                                                                                                                                        if any
4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________




       Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                               page __ of ___
           Case 2:18-bk-17029-BB               Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28 Desc
 Debtor         DDC Group, Inc.
               _______________________________________________________                         2:18-bk-17029-BB
               Name                             Main Document    Page 21Case number (if known)_____________________________________
                                                                         of 36
Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                       Total of claim amounts



5a. Total claims from Part 1                                                                 5a.                        279,042.00
                                                                                                       $_____________________________




5b. Total claims from Part 2                                                                 5b.   +                  1,703,794.61
                                                                                                       $_____________________________




5c. Total of Parts 1 and 2
                                                                                             5c.                      1,982,836.61
                                                                                                       $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                 page __ of ___
           Case 2:18-bk-17029-BB                     Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28                                        Desc
                                                      Main Document    Page 22 of 36
 Fill in this information to identify the case:

              DDC Group, Inc.
 Debtor name __________________________________________________________________

 United States Bankruptcy Court for the:Central
                                        ______________________ District of    CA
                                                                               _______
                                                                              (State)
 Case number (If known):    2:18-bk-17029-BB
                            _________________________                          7
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       
       ✔  Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease

                                          Lease of Office Space                            KBS II 445 S. Figeuroa LLC
         State what the contract or       ____________________________________             _________________________________________________________
 2.1     lease is for and the nature                                                       Attn General Counsel
                                          ____________________________________             _________________________________________________________
         of the debtor’s interest                                                          800 Newport Center Drive, Suite 700
         State the term remaining         4 years
                                          ____________________________________             Newport   Beach CA 92660
                                                                                           _________________________________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________

                                          Porsche Car Lease                                Porsche USA
         State what the contract or       ____________________________________             _________________________________________________________
 2.2     lease is for and the nature                                                       One Porsche Drive
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           Atlanta GA 30354
                                                                                           _________________________________________________________
         State the term remaining         through October 2021
                                          ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________

                                          Apartment Lease                                  Kowa Properties, Inc
         State what the contract or       ____________________________________             _________________________________________________________
 2.3     lease is for and the nature                                                       55 East 58th Street, 19th Floor
                                          ____________________________________             _________________________________________________________
         of the debtor’s interest                                                          New York, NY 10022
                                                                                           _________________________________________________________
         State the term remaining         through October 2021
                                          ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of ___
           Case 2:18-bk-17029-BB                 Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28                               Desc
                                                  Main Document    Page 23 of 36
Debtor         DDC Group, Inc.
               _______________________________________________________                                       2:18-bk-17029-BB
                                                                                      Case number (if known)_____________________________________
               Name




          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired lease


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



 Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                                    page ___ of ___
           Case 2:18-bk-17029-BB                     Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28                                          Desc
                                                      Main Document    Page 24 of 36
 Fill in this information to identify the case:

             DDC Group, Inc.
 Debtor name __________________________________________________________________

                                         Central
 United States Bankruptcy Court for the:_______________________             CA
                                                                District of ________
                                                                                (State)
 Case number (If known):    2:18-bk-17029-BB
                            _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔   Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1   Vyacheslav   Borisov
        _____________________         2219 Main Street # 363
                                      ________________________________________________________            SBA
                                                                                                           _____________________              D
                                      Street                                                                                                 ✔ E/F
                                                                                                                                             
                                      ________________________________________________________                                                G

                                      Santa Monica CA 90405
                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.2
        Vyacheslav   Borisov
        _____________________         2219 Main Street #363
                                      ________________________________________________________            Porsche
                                                                                                          _____________________               D
                                      Street                                                                                                 ✔ E/F
                                                                                                                                             
                                      ________________________________________________________                                                G
                                      Santa Monica CA 90405
                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.3
        Vyacheslav    Borisov
         _____________________        2219 Main Street #363
                                      ________________________________________________________           Kowa
                                                                                                          _____________________               D
                                      Street                                                                                                 
                                                                                                                                             ✔ E/F
                                      ________________________________________________________                                                G

                                      Santa Monica CA 90405
                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.4
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                  E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.5
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                  E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.6
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                  E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code




Official Form 206H                                               Schedule H: Codebtors                                                         page 1 of ___
           Case 2:18-bk-17029-BB               Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28                                 Desc
                                                Main Document    Page 25 of 36
Debtor          DDC Group, Inc.
               _______________________________________________________                                       2:18-bk-17029-BB
                                                                                      Case number (if known)_____________________________________
               Name




            Additional Page if Debtor Has More Codebtors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                  Mailing address                                            Name
                                                                                                                             that apply:

 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                      E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code


 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                      E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                      E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code


 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                      E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                      E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code


 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                      E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code


 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                      E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                      E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code




 Official Form 206H                                    Schedule H: Codebtors                                                     page ___ of ___
   Case 2:18-bk-17029-BB         Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28                  Desc
                                  Main Document    Page 26 of 36



                               PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business

address is: 445 S. Figueroa Street, Suite 2160, Los Angeles, CA 90071.

This Proof of Service concerns the following document :

Chapter 7 Schedules AB through H ( DDC Group, Inc.)

I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) –

Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s) (“LBR”), the document listed

above will be served by the court via NEF and hyperlink to the document. On 6/30/2021 I checked the

CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following

person(s) are on the Electronic Service List:

See attached list



SERVED BY U.S. MAIL: On 6/30/2021 I served the following person(s) and/or entity(ies) at the last

known address(es) in this bankruptcy case by placing a true and correct copy thereof in a sealed

envelope in the United States Mail, first class, postage prepaid, and addressed as follows:

See Attached List

I declare under penalty of perjury under the laws of the United States of America that the foregoing is

true and correct.


Dated: 6/30/2021
                                                             _____________________
                                                             Kathleen M. Hateley, Attorney at Law
                                                             Attorney for DDC Group, Inc.
Case 2:18-bk-17029-BB   Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28   Desc
                         Main Document    Page 27 of 36




        MASTER SERVICE LIST FOR MAILED SERVICE
        COMBINED CHAPTER 11 LIST WITH CHAPTER 7 MASTER LIST

                        Vyacheslav Borisov
                        2219 Main Street # 363
                        Santa Monica, CA 90405

                        Daniil Borisov
                        900 W. Olympic Blvd Apt 35A
                        Los Angeles, CA 90015

                        Bristol West Insurance
                        26413 Jefferson Ave Suite F
                        Murrieta, CA 92562

                        Automatic Data Processing, Inc.
                        1 ADP Blvd
                        Roseland, NJ 07068

                        Porche USA
                        One Porsche Drive
                        Atlanta, GA 30354

                        Kaiser California Service Center
                        Small Business Accounts
                        PO Box 23219
                        San Diego, CA 92193-3219

                        KBS II 445 S. Figueroa, LLC
                        Attn General Counsel
                        800 Newport Center Drive Suite 700
                        Newport Beach, CA 92660

                        KBS Capital Advisors, LLC
                        Attn Tim Helgeson
                        800 Newport Center Drive, Suite 700
                        Newport Beach, CA 92660


                        AT&T Wireless
                        c/o CT Corporation System
                        150 Fayetteville St Box 1011
                        Raleigh, North Carolina 27601

                        Cogent Communications
Case 2:18-bk-17029-BB   Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28   Desc
                         Main Document    Page 28 of 36



                        2450 N. Street NW
                        Washington, DC 20037

                        Blue Mountain Spring Water
                        1011 Waterman Drive
                        Waterman NY 13601



                        Cort Furniture
                        8484 Wilshire Blvd Suite 150
                        Beverly Hills, CA 90211

                        Pinnacle Communication Service
                        730 Fairmont Avenue
                        Glendale, CA 91203

                        Tokio Marine American Ins. Co
                        1221 Ave of the Americas Suite 1500
                        New York, NY 10020

                        Resnik Hayes, Moradi
                        17609 Ventura Blvd Suite 314
                        Encino, CA 91316

                        State Compensation Ins Fund
                        PO Box 22022
                        Santa Ana, CA 92702

                        Box Inc
                        900 Jefferson Avenue
                        Redwood, CA 94063

                        Blue Shield
                        Installation & Billing Group
                        PO Box 3008
                        Lodi, CA 95241-3008

                        Principal Dental
                        c/o Principal Live Ins Co
                        711 High Street
                        Des Moines, IA 50392

                        Tradesmen International LLC
                        9760 Shepard Rd
                        Macedonia, OH 44056
Case 2:18-bk-17029-BB   Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28   Desc
                         Main Document    Page 29 of 36




                        Tradesmen International
                        c/o Arendsen Cane Molnar LLP
                        315 S. Beverly Dr Suite 320
                        Beverly Hills, CA 90212

                        Singh’s Coffee Inc.
                        1467 Paseo De Las Flores
                        Encinitas, CA 92024

                        Singh’s Coffee Inc
                        c/o Erik Johnson Esq
                        33935 Malaga Drive Suite A
                        Dana Point, CA 92629

                        S G Construction
                        c/o Dougherty Law Firm
                        2660 Townsgate Rd Suite 400
                        Westlake, CA 91361

                        We Love Food, LLC
                        26895 Aliso Creek Road #B-87
                        Aliso Viejo, CA 92656

                        We Love Food, LLC
                        c/o Berger Harnson APC
                        114 Pacifica Suite 470
                        Irvine, CA 92618

                        American Contractor Indem Co
                        c/o Lanak Hanna PC
                        625 The City Dr South Suite 190
                        Orange, CA 92868

                        1 Life Healthcare Inc
                        c/o Polsinelli LLP
                        2049 Century Park East #2900
                        Los Angeles, CA 90067

                        1 Life Healthcare, Inc
                        One Embarcadero Center Suite 1900
                        San Francisco, CA 94111

                        G & G Door Products Inc
                        c/o Bice Murphy Law
Case 2:18-bk-17029-BB   Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28   Desc
                         Main Document    Page 30 of 36



                        851 Haverford Ave
                        Pacific Palisades, CA 90272


                        C & J Marvan Enterprises
                        c/o Triebsch & Frampton, APC
                        300 N. Palm Street / P.O. Box 709
                        Turlock CA 95381

                        Accurate Comfort Systems
                        c/o Small Law PC
                        501 W Broadway Suite 1360
                        San Diego, CA 92101

                        Charmet Tile
                        c/o Robert Weissman Esq
                        2660 Townsgate Rd Suite 350
                        Westlake Village, CA 91361

                        My Fax
                        700 S. Flower Street 15th Floor
                        Los Angeles, CA 90017

                        FC Dadson Inc
                        7700 Mineral Point Road
                        Madison WI 53717

                        San Diego Paint Pros
                        7488 La Jolla Blvd
                        La Jolla, CA 92037

                        J & V Electric Inc
                        1224 Commercial Suite C
                        Oxnard, CA 93030

                        WiedenBach Brown
                        3760 Prospect Ave
                        Yorba Linda, CA 92886

                        Kowa Properties Inc.
                        55 East 58th Street 19th Floor
                        New York, NY 10022

                        U.S. Small Business Administration
                        Processing and Disbursement Center
                        14925 Kingsport Road
  Case 2:18-bk-17029-BB          Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28              Desc
                                  Main Document    Page 31 of 36



                                 Fort Worth, TX 76155



                                 First Home Bank
                                 700 Central Ave
                                 St Petersburg, FL 33701

                                 DELERIO CONSTRUCTION LLC
                                 4381 N BRAWLEY AVE STE 101
                                 FRESNO, CA 93722

                                 Kibo Energy Services
                                 4845 BLAYDON RD
                                 ROCKLIN, CA 95765-5036

                                 Original Sid Blackman Plumbing
                                 PO BOX 3487
                                 EL CENTRO, CA 92244-3487




GTR Source, LLC,                      RDY Holdings, LLC                Richmond Capital Group, LLC,
111 John Street, Suite 1210,          C/O Zachter PLLC,                111 John Street ,
New York, New York 10038              2 University Plaza, Suite 205,   New York, NY 10038
                                      Hackensack, NJ 07601

Yellowstone Capital, LLC,             Yes Lender, LLC                  Employment Development Dept,
17 State Street, Suite 4000 New       1150 First Avenue, Suite 105,    Bankruptcy Group MIC 92E,
York, NY 10004                        King of Prussia, PA 19406        PO Box 826880,
                                                                       Sacramento CA 94280


EDD Assessment,                       Franchise Tax Board Bankruptcy   Internal Revenue Service,
10330 Poiner Blvd. Suite 150, Santa   Section MS:A-340, PO Box 2952,   Insolvency Group, 7 M/Z 5022,
Fe Springs, CA 94583                  Sacramento CA 95812              300 North Los Angeles Street,
                                                                       Los Angeles CA 90012


City of Los Angeles,                  AAA Fire Protection Services,    ABC Mechanical Contractors,
City Attorney Office,                 30113 Union City Blvd., Union    475 Barnevald Ave, San
200 N. Main Street, Suite 920, Los    City, CA 94587                   Francisco CA 94124
Angeles CA 90012 ATTN:
Bankruptcy Payment


ADP Tax Services                      Advance Disposal, Inc.           Aquatic Fire Protection
400 West Covina Blvd                  c/o Cash Flow Mgmt Inc           540 Garcia Ave. Suite A
  Case 2:18-bk-17029-BB         Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28           Desc
                                 Main Document    Page 32 of 36



San Dimas, CA 91773                 PO Box 42407                    Pittsburg, CA 94565
                                    Portland OR 97407



Ambient Electric                    Anderson’s Door Services        Associated Plumbing
c/o Scott Thomas Green, Esq         12890 Western Ave.              90 Leavesley Road
Green Law Group, LLP                Garden Grove, Ca 92841          Gilroy, CA 95020
1777 E. Los Angeles Ave.
Simi Valley, CA 93065


BARR Credit Services                BB&Z Brothers                   Bracelin Company
5151 E. Broadway Blvd., Suite       c/o Garmo & Garmo, LLP          2308 Bates Ave., Suite A
800                                 124 W. Main Street, Suite 200   Concord CA 94520
Tucson AZ 85711                     El Cajon CA 92020


Cesar Lara                          Chase Ink                       Kibo Energy Services
2974 Peppertree Drive               Cardmember Services             4845 Blaydon Rd
Fairfield CA 94533                  PO Box 6294                     Rocklin, CA 95765
                                    Carol Stream, IL 60197-6294



Delerio Construction                ECAMSECURE                      Farley Construction
c/o Gilmore,Magness Janisse         3400 E. Airport Way             87 Adelfa Street
PO Box 28907                        Long Beach, CA 90806            Rancho Mission Viejo, CA
Fresno, CA 93729                                                    92694


Fe Quero, Inc                       Frontier Communications         Matrix HG Inc
112 J Street, Suite 300             Bankruptcy Dept                 2355 Whitman Road
Sacramento CA 95814                 19 John Street                  Concord CA 94518
                                    Middletown NY 10940


Internal Revenue Service            Lynch Electric                  MarLu Portland II
PO Box 7346                         1160 Industrial Road, #18       Stephen Lufti
Philadelphia PA 19101-7346          San Carlos, CA 94070            2368 Maritime Drive, #100
                                                                    Elk Grove, CA 95758


MarLu Seatac II                     Matrix HG Inc                   Mobile Modular Mgmt Corp
Stephen Lufti                       115 Mason Circle, Suite B       Niel Bansraj
2368 Maritime Drive, #100           Concord CA 94520                5700 Las Positas Rd
Elk Grove, CA 95758                                                 Livermore CA 94550


Opening Technologies                OT Epoxy Floors                 Paragon Tile & Stone
  Case 2:18-bk-17029-BB          Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28        Desc
                                  Main Document    Page 33 of 36



10 2nd Street, South #C5             3553 Ryder Street            PO Box 230845
Pacheco CA 94553                     Santa Ana CA 95051           Tigard OR 97281



Kraft Law                            PDX Drywall                  Pires Electric
11335 Gold Express Dr. Suite         ATTN Tito Romayor            16 Montalban Drive
125                                  PO Box 8253                  Fremont CA 94536
Gold River, CA 95670                 Salem OR 97303


Pour Electric                        Premier Roofing & Building   Progress Glass Co
2996 Great Egret Way                 1331 N. Dynamics St          25 Patterson Street
Sacramento CA 95834                  Anaheim CA 92806             San Francisco CA 94124


Promax                               Builders Law Group           Pro-Tech Painting Inc
c/o Nick Campbell, Esq               9767 Via Roma                818 Cristich Lane, Suite 3
16055 Ventura Blvd, Suite 1200       Burbank CA 91504             Campbell CA 95008
Encino CA 91436

Robert Farley                        Smart Management Co          Quality Production Services
Robert Farley Construction           Stephen Lufti                c/o Armenak Kavcioglu Esq
2195 Elmer Ave                       2368 Maritime Drive, #100    16055 Ventura Blvd, #1200
Yuba City CA 95993                   Elk Grove, CA 95758          Encino CA 91436
Scholten Roofing                     Set in Stone Tile            Shade Tree Homes
7157 Guide Meridian, #1              4910 Wellington Park Dr.     9663 Jackson Hill Road SE
Lynden WA 98264                      San Jose CA 95136            Salem, OR 97306


Simplex Grinnell                     Richmond Capital             Global Trade Solutions
Attn Bankruptcy                      10800 Midlothian Turnpike    6899 Broken Sound Pkwy
50 Technology Drive                  Suite 217                    Boca Raton FL 33487
Westminster MA 01441                 Richmond VA 23235
   Case 2:18-bk-17029-BB                     Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28                                         Desc
                                              Main Document    Page 34 of 36




Electronic Service List

The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 17, 2021 at the address(es)
listed below: Name                                            Email Address

  Brian D Huben       hubenb@ballardspahr.com carolod@ballardspahr.com o n b e h a l f o f C r e d i t o r C e n t u r y C i t y M a l l , L L C

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  David Gilmore       on behalf of Interested Party INTERESTED PARTY dgilmore@gmlegal.net lrenwick@gmlegal.net

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  McGuire

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  Gary R Wallace      on behalf of Attorney Resnick Hayes Moradi LLP garyrwallace@ymail.com


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  Lovee D Sarenas     on behalf of Creditor Marlu Sea-Tac II lsarenas@sklarkirsh.com


  Lovee D Sarenas     on behalf of Creditor Smart Management & Co. Inc. lovee.sarenas@lewisbrisbois.com
   Case 2:18-bk-17029-BB                     Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28                              Desc
                                              Main Document    Page 35 of 36




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  Esterkin




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  William A Smelko     on behalf of Creditor Jack in the Box Inc. William.Smelko@procopio.com,
                       kristina.terlaga@procopio.com;calendaring@procopio.com

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  Trustee (LA)

  Elissa Miller (TR)   CA71@ecfcbis.com



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Case 2:18-bk-17029-BB   Doc 468 Filed 06/30/21 Entered 06/30/21 16:41:28   Desc
                         Main Document    Page 36 of 36
